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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------------x
                                                                 :
RICHARD FARMER,
                                                                 :
                                      Plaintiff,                 :   17-CV-9300 (GBD) (OTW)
                                                                 :
                     -against-                                   :   ORDER
                                                                 :
FZOAD.COM ENTERPRISES INC., et al.,                              :
                                                                 :
                                      Defendants.                :
                                                                 :
-------------------------------------------------------------x

         ONA T. WANG, United States Magistrate Judge:

         On January 29, 2019, pro se Plaintiff Richard Farmer filed a “Request for Protective

Order Against Defendants [sic] Counsel Joshua Weiner Esq. for Racism.” (ECF 74). Plaintiff

requests that the Court enter a protective order against Mr. Weiner, alleging that the nature of

their email communications has been “extremely hostile in nature,” among other things. (ECF

74 at 1). Plaintiff’s request attached no facts from which the Court could assess Plaintiff’s

allegations. On February 4, 2019, Joshua Weiner, counsel for Defendants Fzoad.com

Enterprises, Inc. and David Forrest Gross, filed a Declaration in response to Plaintiff’s request.

(ECF 76). Defendants’ submission attached the email communications between Mr. Weiner and

Plaintiff.

         As a preliminary matter, Plaintiff’s failure to include the allegedly “upsetting” emails in

his submission is reason to deny the request. I have reviewed the emails provided by Mr.

Weiner and find Plaintiff’s allegations and insinuations about Mr. Weiner’s behavior to be
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without merit. There is nothing in the email communications to suggest that Mr. Weiner has

acted with a “racist demeanor.” 1 (ECF 74 at 1).

         Moreover, upon a review of the emails, Plaintiff appears to be the instigator of a tirade

of abuse towards Mr. Weiner and other counsel in this matter. (See, e.g., ECF 76 Ex. A at 4

(“Furthermore, you are a liar”); id. at 11 (“As far as I’m concerned your [sic] a slime ball); id. at 9

(“Subject: Butt Brain its [sic] 300 days in NEW YORK STATE”); id. Ex B at 2 (accusing counsel of

misrepresentation and fraud)). The parties and their counsel are reminded to treat each other

with courtesy and civility.

         Accordingly, it is HEREBY ORDERED that:

             1. Plaintiff’s request is DENIED and the Clerk of Court is directed to STRIKE ECF 74
                from the docket; and

             2. Plaintiff is DIRECTED to cease use of any and all abusive language in his
                communications with Defendants’ counsel. If Plaintiff fails to abide by this
                direction, the Court may entertain a motion for sanctions against Plaintiff.

             3. The Clerk of Court is respectfully directed to mail a copy of this Order to the
                Plaintiff.

         SO ORDERED.



                                                                        s/ Ona T. Wang
Dated: February 6, 2019                                                            Ona T. Wang
       New York, New York                                                 United States Magistrate Judge




1
  Plaintiff does not describe or identify Mr. Weiner’s “racist demeanor”; at best, the parties seem to be arguing
about a statement in Mr. Weiner’s memorandum of law that indicated that his clients “had been informed
(correctly or incorrectly) that Plaintiff (who has a habit of suing prior employers) was currently incarcerated.” (ECF
50 at 3).

                                                           2
